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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION


U NITED S TATES OF A MERICA
                                        Criminal Action No.
      v.
                                        1:18-CR-309-LMM-LTW-1
C HALMER D ETLING , II
  A / K / A C HUCK D ETLING


 United States’ Opposition to Chalmer Detling, II’s Requests to
        Charge and Supplemental Requests to Charge

   The United States of America, by Kurt R. Erskine, Acting United

States Attorney, and Alex Sistla and Samir Kaushal, Assistant United

States Attorneys for the Northern District of Georgia, files this

Opposition to Chalmer Detling, II’s Requests to Charge and proposes

two additional instructions—deliberate ignorance and aiding and

abetting—based on the evidence and Detling’s anticipated closing

argument.

   A. Detling’s “Theory of Defense” Instruction is incorrect as a
      matter of law and cannot be included.

   Detling’s proposed theory of defense should not be included in the

jury instructions. First, Detling has provided no legal authority to

support the incorrect legal theory underpinning his “theory of defense.”

No matter how many words he puts on paper or says in court, he has

yet to provide any legal authority—from this Court or any other district

court, any Court of Appeal, the Supreme Court, or any applicable
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statute—for the proposition that the government must exclude

Mackenzie Cole, Aimie Ingram, and everyone else in the world from

being involved in the charged scheme for the jury to convict Detling. He

identifies no authority because there is none. Whether other

individuals could also be guilty of a substantive offense does not negate

Detling’s culpability.

   Although there were numerous hypotheticals that the Court has

already discussed with defense counsel to reveal the flaws in their

novel and incorrect understanding of criminal law, aiding and abetting

law straightforwardly shows how Detling is wrong: “An individual . . .

may be indicted as a principal for the commission of a substantive

crime and convicted upon evidence that he or she aided and abetted

only.” United States v. Walser, 3 F.3d 380, 388 (11th Cir. 1993). This is

because “Title 18 U.S.C. § 2 . . . does not establish a separate crime.” Id.

As such, “18 U.S.C. § 2 is an alternative charge in every count, whether

explicit or implicit, and the rule is well-established . . . that one who
has been indicted as a principal may be convicted on evidence showing

that he merely aided and abetted the commission of the offense.”

United States v. Walker, 621 F.2d 163, 166 (5th Cir. 1980) (stating that
“18 U.S.C. § 2 does not define a crime[, but] simply makes punishable

as a principal one who aids or abets the commission of a substantive




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crime”) (internal quotation marks omitted) 1; United States v. Tucker,
402 F. App’x 499, 502 (11th Cir. 2010) (“[U]nder our law, an individual

indicted as a principal may be convicted on evidence showing that he

aided and abetted the commission of the offense, regardless of whether
the indictment included an aiding-and-abetting charge.”). Because

aiding and abetting is implied in every federal offense, Detling’s theory

of defense is an improper statement of law.
   Second, the notion that the elements of the offenses with which

Detling is charged must be proved beyond a reasonable doubt as to him

are already included in the jury instructions. See, e.g., United States v.
Argiz, 805 F. App’x 953, 956 (11th Cir. 2020) (explaining that theory of

defense instruction unnecessary where “general theory” was already

covered by instructions).

   B. The other proposed instruction is unnecessary,
      duplicative, confusing, and misleading.

The Court has requested a response from the United States to the

following instruction:

   The Court has previously instructed you on the elements that the
   government must prove beyond a reasonable doubt for you to find
   Mr. Detling guilty of the crimes charged in the indictment. You



   1 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981)
(en banc), the Eleventh Circuit adopted as binding precedent all Fifth
Circuit decisions issued prior to October 1, 1981.

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     must find that Mr. Detling personally engaged in all of the
     requested elements of the charged offenses for him to be guilty of
     those charges.


This instruction is confusing and misleading for at least the following

reasons:

 -    The instruction incorrectly encourages the jury to commingle the
      elements of the crimes of wire fraud and aggravated identity theft;
 -    The instruction misstates the law by suggesting that all the
      charges—wire fraud and aggravated identity theft—are a package
      for which Detling must collectively be found guilty or not guilty;
 -    The instruction will confuse the jury through references to
      “elements,” a word that is not in the Court’s instructions; and
 -    The instruction misstates the law by suggesting that Detling
      would have to personally wire money to be guilty of wire fraud,
      thereby contradicting the jury instruction for wire fraud. (See
      Court’s Proposed Jury Instructions at 9 (“The Government does
      not have to prove . . . that the Defendant personally made the
      transmission over the wire.”).)

The Court’s wire fraud and aggravated identity theft instruction—
which come from the Eleventh Circuit’s Pattern Jury Instructions—

reflect the collective wisdom of the Judicial Counsel of the Eleventh

Circuit. Those instructions sufficiently instruct the jury as to the

specific facts the jury must find to convict Detling of each count of the

indictment. And those instructions make clear that the jury may not

convict unless each required element in a charge is proven beyond a
reasonable doubt against the defendant.


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   The current draft of the jury instructions make this clear:

                                Wire Fraud

   The Defendant can be found guilty of this crime only if all the
   following facts are proved beyond a reasonable doubt:
   (1) the Defendant knowingly devised or participated in a scheme
   to defraud someone by using false or fraudulent pretenses,
   representations, or promises;
   (2) the false pretenses, representations, or promises were about a
   material fact;
   (3) the Defendant acted with the intent to defraud; and
   (4) the Defendant transmitted or caused to be transmitted by
   wire some communication in interstate commerce to help carry
   out the scheme to defraud.


(Court’s Proposed Jury Instructions at 7–8 (emphasis added).)

                       Aggravated Identity Theft

   The Defendant can be found guilty of aggravated identity theft
   only if all the following facts are proved beyond a reasonable
   doubt:
   (1) the Defendant knowingly transferred, possessed, or used
   another person’s means of identification;
   (2) without lawful authority; and
   (3) during and in relation to wire fraud.


(Id. at 10 (emphasis added).)




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   C. Detling is not entitled to a good faith instruction but, if
      that instruction is issued, the jury should also be
      instructed on deliberate ignorance.

   Detling has not identified any documents or trial testimony that

would support issuing a good faith instruction. And at all events, no
such instruction is needed here because the good faith instruction is

substantially covered by the wire fraud instruction. See United States v.

Fernandez, 553 F. App’x 927, 936 (11th Cir. 2014). “The requested

instruction [is] ‘substantially covered by the charge actually given,’

Eckhardt, 466 F.3d at 947, because the [instructions explain] that the

United States ha[s] to prove that [Detling] acted ‘knowingly,’ . . . and

with the ‘intent to defraud.’” Fernandez, 553 F. App’x at 936.

Instructing a jury on specific intent necessarily excludes a finding of

good faith. Id. (citing United States v. McNair, 605 F.3d 1152, 1201

n.65 (11th Cir. 2010)). In other words, the concept of good faith is

“substantially included in the instruction that the criminal act must be

done ‘knowingly’ or ‘willfully.’” Fernandez, 553 F. App’x at 936 (quoting

United States v. Jordan, 582 F.3d 1239, 1248 (11th Cir. 2009)); see also

United States v. Walker, 26 F.3d 108, 109–10 (11th Cir. 1994) (holding

that an instruction about intent to defraud adequately addressed the
defense of good faith).




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   If the Court does include the good faith instruction, the United

States requests that this deliberate ignorance instruction be included

as well:

   If a Defendant’s knowledge of a fact is an essential part of a
   crime, it’s enough that the Defendant was aware of a high
   probability that the fact existed – unless the Defendant actually
   believed the fact didn’t exist.

   “Deliberate avoidance of positive knowledge” – which is the
   equivalent of knowledge – occurs, for example, if a defendant
   submits applications for or receives funds from litigation advance
   companies and believes those applications or funds are for
   litigation advances for which the plaintiff-clients never asked for
   the funds but deliberately avoids learning that the plaintiff-
   clients never asked for the funds so he can deny knowledge of the
   fact that the plaintiff-clients never asked for the funds.

   So, in this example, you may find that a defendant knew that the
   litigation advance applications or funds were never asked for by
   the plaintiff-clients if you determine beyond a reasonable doubt
   that the defendant (1) actually knew that the plaintiff-clients had
   never asked for the funds, or (2) had every reason to know but
   deliberately closed his eyes. But I must emphasize that
   negligence, carelessness, or foolishness isn’t enough to prove that
   the Defendant knew that the plaintiff-clients had not asked for
   the applications or funds.


See Eleventh Circuit Pattern Jury Instructions (Criminal Cases)

(2020), Special Instruction No. 8. A deliberate ignorance instruction is

necessary here to provide appropriate context for the evidence admitted
at trial. Among other things, the law firm’s bank records, Detling’s e-

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mails with the Mighty Companies, and the testimony of Dr. Golden

establish that Detling was aware of the law firm’s financial

circumstances and how funds were being spent, that Detling made

numerous representations to the Mighty Companies about the need for

litigation advances for the firm’s clients, and that Detling obtained

litigation advances from Capital Financing, along with law firm loans.

   D. The United States requests that the aiding and abetting
      instruction be included in the jury charge.

   The United States requests that the Eleventh Circuit Pattern Jury

Instruction on aiding and abetting also be included in the jury charge.

See Tucker, 402 F. App’x at 502; United States v. Seabrooks, 839 F.3d

1236, 1233 (11th Cir. 2016); United States v. Steele, 733 F. App’x 472,

475 (11th Cir. 2018). The instruction is proper based on the evidence at

trial and Detling’s anticipated closing argument. The Eleventh Circuit

Pattern Jury Instruction states the following:

   It’s possible to prove the Defendant guilty of a crime even without
   evidence that the Defendant personally performed every act
   charged. Ordinarily, any act a person can do may be done by
   directing another person, or “agent.” Or it may be done by acting
   with or under the direction of others. A Defendant “aids and
   abets” a person if the Defendant intentionally joins with the
   person to commit a crime. A Defendant is criminally responsible
   for the acts of another person if the Defendant aids and abets the
   other person. A Defendant is also responsible if the Defendant




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   willfully directs or authorizes the acts of an agent, employee, or
   other associate. But finding that a Defendant is criminally
   responsible for the acts of another person requires proof that the
   Defendant intentionally associated with or participated in the
   crime – not just proof that the Defendant was simply present at
   the scene of a crime or knew about it. In other words, you must
   find beyond a reasonable doubt that the Defendant was a willful
   participant and not merely a knowing spectator.


Eleventh Circuit Pattern Jury Instructions (Criminal Cases), Special

Instruction No. 7.




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                                Respectfully submitted,

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October 31, 2021


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